 

 

Case 1:20-cv-04462-GBD Document 20 Filed 10/19/20 Page 1of1

Michael Faillace & Associates, P.C.

 

 

 

 

 

 

 

rc Employment and Litigation Attorneys
60 East 42"4 {lus USDC SDNY v Telephone: (212) 317-1200
New York, “ey VSAM OU SMENT i Facsimile: (212) 317-1620
 ELECTRONICALEY FILED |
i DOC # October ~ ° SO ORDrp,
via ECE oo ¥ | DATE EFILED, SO yapy i Nitial cong. ~
g 8 202055 soured d fro rence js
Oda Ctober 29
Hon. George B. Daniels, U.S.D.J. ono a ary 2027 ~
United States District Court for the Southern District of New York 1 at

500 Pearl St.
New York, NY 10007-1312

    

‘IGE PD TA MTOY
# o HEP OE E

Re: Ortiz Ochoa et al v. Prestige Cafe & Deli Corp. et al., 1:20- cv-04462- GBD

HON, GRO?

Your Honor:

This office represents the Plaintiff in the above-referenced matter. Together with
Defendants’ counsel, I write to request that the Court adjourn the initial conference scheduled for
this matter for tomorrow, October 20, in light of the filing of the Proposed Case Management Plan
(ECF Doc. No. 18) earlier today.

We thank the Court for its time and its attention to this matter.

Sincerely,
/s/_ Jordan Gottherm
Jordan Gottheim, Esq.

Michael Faillace & Associates, P.C.
Attorney for Plaintiff

cc: Defendants’ Cousnel (via ECF)

Certified as a minority-owned business in the State of New York
